                              THE CHANCERY COURT                                    FILED
                           DAVIDSON COUNTY, TENNESSEE
                                                                                    AUG 2 2 20\8
                   HONORABLE ELLEN HOBBS LYLE, CHANCELLOR
                                                                             Clerk of th~ Appellate Courts
                        MARIA M. SALAS, CLERK AND MASTER                     Rec'd By


                           ABU-ALI-ABDUR'RAHMAN, ET AL
                                     Plaintiffs/ Appellants
                                                                 VOLUME I 7 of 28


    CERTIFIED                                                              APPEALED

   TRANSCRIPT                                                                  TO

        OF                                                                  Next Term,

       Cause                         SUPREME COURT                              20

                                    TRANSMITTED ON:

                                       August 21, 2018

   TONY PARKER, IN HIS OFFICIAL CAPACITY AS TENNESSEE COMMISSIONER OF
                             CORRECTION, ET AL
                              Defendants/Appellees



                           Trial Transcript from July 16, 2018
                                    Pages 1521 - 1671


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   Case 3:18-cv-01234 Document 1-24 Filed 11/02/18 Page 1 of 11 PageID #: 1097
                                                                                     Attachment 23
              ABU-ALI-ABDUR'RAHMAN, ET AL. vs TONY PARKER, ET AL.
                        Transcript of Proceedings on 07/16/2018                   Page 1612

   1    A.           Right.

   2    Q.           But it's your understanding that these are
   3    notes that were created by the drug procurer; is
   4    that correct?
   5    A.           Yes.
   6    Q.           All right.          And the -- strike that.

   7    Sorry.
   8                 We're going to get back to that contract
   9    that you talked about when you had a pharmacy that
  10    had a contract for creating pentobarbital or
  11    providing pentobarbital?
  12    A.           The 2014 contract?
  13    Q.           The 2014 contract.
  14    A.           Yes.
 15     Q.           That contract, in fact,                is still in
 16     effect; is it not?
 17     A.           Yes.
 18     Q.           And that contract calls for the department
 19     to pay $5,000 a year essentially as a retainer for
 20     work from that pharmacist, correct?
 21     A.           Correct.
 22     Q.           And the department continues to pay that
 23     pharmacist; is that correct?
 24    A.            I'm not sure about the payments.
 25     Q.           By its terms,          it calls for continued


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 Case 3:18-cv-01234 Document 1-24 Filed 11/02/18 Page 2 of 11 PageID #: 1098
                                                                                   Attachment 23
              ABU-ALI-ABDUR'RAHMAN, ET AL. vs TONY PARKER, ET AL.
                        Transcript of Proceedings on 07/16/2018                  Page 1613

   1    payments of $5,000 a year?
   2    A.          Yes.      I'm not familiar, though.
   3    Q.          But that -- that pharmacist and that
   4    pharmacy contract is not the one that we're
   5    talking about -- let's call is Source B, all
   6    right?
   7    A.           Correct.
   8    Q.           So when you look at the -- we're jumping a
   9    little bit ahead, but when you look at the January
 10     2018 protocol, that protocol called for Protocol A
 11     and Protocol B, right?
 12     A.          Correct.
 13     Q.          So the 2014 contract went with Protocol A?
 14    A.            It was available for Protocol A.                      The
 15     subsequent contract was also -- would have
 16     included Protocol A.
 17     Q.          And then Protocol B was what we're calling
 18     Source B, right?
 19    A.           Yes.
 20    Q.           So the contract to do -- let's forget
 21    about the pentobarbital.                  When you had the second
 22    protocol that involved midazolam, that would have
 23    been Source B that we've talking about, right?
 24    A.           Well, Source B also helped us try to
 25    obtain pentobarbital.


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                                                                                  Attachment 23
              ABU-ALI-ABDUR'RAHMAN, ET AL. vs TONY PARKER, ET AL.
                        Transcript of Proceedings on 07/16/2018                  Page 1640

   1    that was -- you didn't have in there                             not "you,"
   2    but the protocol did not have specific
   3    instructions about what you do with compounded
   4    drugs, because at that point it was drafted it was
   5    anticipated that that was manufactured, correct?
   6    A.           Well, when it was issued, we did have some
   7    manufactured midazolam, so that was the intent at
   8    the beginning.            But, again, the contract was
   9    written -- protocol was written broadly enough to
  10    include either one.
  11    Q.           But the protocol, when it addressed
  12    Protocol B, it didn't specifically say that that
  13    was to be compounded?
  14    A.           No,    it did not.
  15    Q.           But, in fact,         the decision -- the
  16    department had made that decision in April of
 17     2018?
 18     A.           Yes.      In April we learned that Source B
 19     had located a source for the API for midazolam.
 20     Q.           Okay.      So did Source B just decide that
 21     they wanted to use the -- do it compounded rather
 22     than getting manufactured, or was manufactured no
 23     longer available for some reason?
 24    A.            It was no longer available.
 25    Q.           And was it no longer available because the


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                                                                                  Attachment 23
              ABU-ALI-ABDUR'RAHMAN, ET AL. vs TONY PARKER, ET AL.
                        Transcript of Proceedings on 07/16/2018                 Page 1641

   1    manufacturer demanded that the department return
   2    whatever was on hand?

   3    A.           I understand they made that demand.
   4    Q.           It wasn't returned, was it?

   5    A.           No.

   6    Q.           So your understanding in April of 2018 was
   7    that Source B could no longer get manufactured
   8    midazolam?
   9    A.           Correct.
  10    Q.          At that point you were aware -- you had
  11    read the plaintiffs' amended complaint; is that
  12    right?
  13    A.          Yes.
 14     Q.          So you knew that plaintiffs were not aware
 15     that compounded was what was contemplated?
 16     A.          Well, no,        I can't say I was aware.
 17     Q.          Did you focus on it?
 18    A.           Well,     I really didn't focus on it, but I
 19     also can't speak to what was intended by the --
 20     contemplated by plaintiffs' counsel.
 21     Q.          Of course.         Of course.
 22                 You have been involved over time, though,
 23    with litigation on the protocols, correct?
 24    A.           Correct.
 25    Q.           And West versus Schofield was -- it came


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Case 3:18-cv-01234 Document 1-24 Filed 11/02/18 Page 5 of 11 PageID #: 1101
                                                                                 Attachment 23
Case 3:18-cv-01234 Document 1-24 Filed 11/02/18 Page 6 of 11 PageID #: 1102
                                                                   Attachment 23
Case 3:18-cv-01234 Document 1-24 Filed 11/02/18 Page 7 of 11 PageID #: 1103
                                                                   Attachment 23
Case 3:18-cv-01234 Document 1-24 Filed 11/02/18 Page 8 of 11 PageID #: 1104
                                                                   Attachment 23
Case 3:18-cv-01234 Document 1-24 Filed 11/02/18 Page 9 of 11 PageID #: 1105
                                                                   Attachment 23
Case 3:18-cv-01234 Document 1-24 Filed 11/02/18 Page 10 of 11 PageID #: 1106
                                                                    Attachment 23
Case 3:18-cv-01234 Document 1-24 Filed 11/02/18 Page 11 of 11 PageID #: 1107
                                                                    Attachment 23
